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                 Exhibit B
                            49D02-1810-CT-042978                        Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 2 of 53 PageID  #: 13 Myla A. Eldridge
                                   Marion Superior Court, Civil Division 2                                      Clerk
                                                                                               Marion County, Indiana



 STATE OF INDIANA                      )
                                       )
 COUNTY OF MARION                      )                            Cause No.
                                       )
 TIFFANIE GRIMM, REBECCA NAUE,         )
 ROBIN BOSTON, ALLISON RANDLE,         )
 and ASHLYN BRYANT,                    )
                                       )
                 Plaintiffs,           )
                                       )
            v.                         )
                                       )
 EDUCATIONAL MANAGEMENT                )
 CORPORATION, d/b/a/ HARRISON COLLEGE, )
 CRAIG PFANNENSTIEHL, JAMES HUTTON, )
 GREGORY WALLIS, MICHAEL CROWLEY,      )
 and KENNETH KONESCO,                  )
                                       )
                 Defendants.           )

                                 APPEARANCE BY ATTORNEY

    1. The party on whose behalf this form is being filed is:
       Initiating _X___               Responding ____         Intervening _____; and

         the undersigned attorney and all attorneys listed on this form now appear in this case for
         the following parties:

         Name of parties:   Tiffannie Grimm, Rebecca Naue, Robin Boston, Allison Randle,
         Ashlyn Bryant

         Address of parties: 8910 Purdue Road, Suite 240, Indianapolis, IN 46268

         Telephone # of parties: (317) 371-9818; (317) 694-1456; (765) 543-3805

         Email Address: grimmtiffanie@gmail.com; bnaue91@gmail.com;
         barncat15@hotmail.com; Allison_randle1995@yahoo.com;ashbry9100@gmail.com

    2.    Attorney information for service as required by Trial Rule 5(B)(2)

          Name:          Andrea Ciobanu, Esq.                Atty Number: 28942-49
                         Carly Roseboom                      Atty Number: 35349-32
          Address:       8910 Purdue Rd, Suite 240
                         Indianapolis, IN 46268




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          Phone: 317-495-1090
          FAX: 317-495-1090
          Email Address: aciobanu@ciobanulaw.com
          Email address: croseboom@ciobanulaw.com

    3.    This is a ___CT_______ case type as defined in administrative Rule 8(B)(3).

    4.    I will accept service from other parties by:
            FAX at the above noted number: Yes ____ No __X__
            Email at the above noted number: Yes ____ No _X___

    5. This case involves child support issues. Yes ____ No _X__

    6. This case involves a protection from abuse order, a workplace violence restraining order,
       or a no – contact order. Yes ____ No __X__ The party shall use the following address
       for purposes of legal service:

         ________         Attorney’s address
         ________         The Attorney General Confidentiality program address
                          (contact the Attorney General at 1-800-321-1907 or e-mail address is
                          confidential@atg.in.gov).
         ________         Another address (provide)
         ______________________________________________________________

    7. This case involves a petition for involuntary commitment. Yes ____ No _X___

    8. If Yes above, provide the following regarding the individual subject to the petition for
       involuntary commitment:

         a. Name of the individual subject to the petition for involuntary commitment if it is not
         already provided in #1 above: ____________________________________________

         b. State of Residence of person subject to petition: _______________

         c. At least one of the following pieces of identifying information:
              (i) Date of Birth ___________
              (ii) Driver’s License Number ______________________
                    State where issued _____________ Expiration date __________
              (iii) State ID number ____________________________
                    State where issued _____________ Expiration date ___________
              (iv) FBI number __________________________
              (v) Indiana Department of Corrections Number _______________________
              (vi) Social Security Number is available and is being provided in an attached
                    confidential document Yes ____ No ____



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    9. There are related cases: Yes _X___ No __

    10. Additional information required by local rule:
        _____________________________________________________________________
    11. There are other party members: Yes ____ No_X___

    12. This form has been served on all other parties and Certificate of Service is attached:
        Yes_X__ No___


                                              Respectfully Submitted,

                                              /s/ Andrea Ciobanu_______________
                                              Andrea Ciobanu, Attorney #28942-49
                                              Carly Roseboom, Attorney #35349-32
                                              Ciobanu Law, P.C.
                                              8910 Purdue Rd, Suite 240
                                              Indianapolis, IN 46240
                                              Telephone:     (317) 495-1090
                                              Email:         aciobanu@ciobanulaw.com
                                              Email:         croseboom@ciobanulaw.com


      CERTIFICATION OF COMPLIANCE OF PLEADINGS WITH TRIAL RULE 5(G)

        I hereby certify that the foregoing document complies with the requirement of Trial Rule
 5(G) with regard to information excluded from the public record under Administrative Rule
 9(G).

                                              Respectfully Submitted,

                                              /s/ Andrea Ciobanu_______________
                                              Andrea Ciobanu, Attorney #28942-49
                                              Carly Roseboom, Attorney #35349-32
                                              Ciobanu Law, P.C.




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                                   CERTIFICATE OF SERVICE

         I certify that on October 25, 2018, I electronically filed the foregoing via IEFS and sent
 copies of the above via Certified U.S. Mail, pre-postage paid to the following individuals:

 Defendant Educational Management Corporation
 c/o Michael T. Crowley, Registered Agent
 c/o Charles Restivo, President
 10970 Andrews Place
 Fishers, IN 46037

 Craig Pfannenstiehl
 1 Richland Rd.,
 Wellesley Hills, MA 02481

 Dr. James D. Hutton, President of Educational Management Corporation
 Career Quest Learning Centers, Lansing Campus
 3215 S. Pennsylvania Ave.,
 Lansing, MI 48910

 Gregory Wallis, Treasurer of Educational Management Corporation
 7710 N. Whittier Pl.,
 Indianapolis, IN 46250

 Michael Crowley, Secretary of Educational Management Corporation
 10970 Andrews Place
 Fishers, IN 46037

 Kenneth Konesco, Director of Educational Management Corporation
 710 Tamenend Trace
 Fishers, IN 46037

                                               Respectfully submitted,

                                               /s/ Andrea Ciobanu_____________________
                                               Andrea L. Ciobanu, #28942-49
                                               Carly Roseboom, #35349-32
                                               CIOBANU LAW, P.C.




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                                   Marion Superior Court, Civil Division 2                                     Clerk
                                                                                              Marion County, Indiana



 STATE OF INDIANA                      )
                                       )
 COUNTY OF MARION                      )                            Cause No.
                                       )
 TIFFANIE GRIMM, REBECCA NAUE,         )
 ROBIN BOSTON, ALLISON RANDLE,         )
 and ASHLYN BRYANT,                    )
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                 Plaintiffs,           )
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            v.                         )
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 EDUCATIONAL MANAGEMENT                )
 CORPORATION, d/b/a/ HARRISON COLLEGE, )
 CRAIG PFANNENSTIEHL, JAMES HUTTON, )
 GREGORY WALLIS, MICHAEL CROWLEY,      )
 and KENNETH KONESCO,                  )
                                       )
                 Defendants.           )

   CLASS ACTION COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

      COME NOW Plaintiffs Tiffanie Grimm, Rebecca Naue, Robin Boston, Allison Randle, and

 Ashlyn Bryant, on behalf of themselves and others similarly situated, and complain against

 Defendants Educational Management Corporation, d/b/a Harrison College, Craig Pfannenstiehl,

 James Hutton, Gregory Wallis, Michael Crowley, and Kenneth Konesco, as follows:

                                 JURISDICTION AND VENUE

 1.      The acts and omissions of Defendants giving rise to this action occurred in Indianapolis,

 Indiana, making jurisdiction and venue proper in this district.

                                           THE PARTIES

 2.      Plaintiff Tiffanie Grimm was a student at Harrison College in Indianapolis, Indiana at all

 relevant times.

 3.      Plaintiff Rebecca Naue was a student at Harrison College in Indianapolis, Indiana at all

 relevant times.



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 4.      Plaintiff Robin Boston was a student at Harrison College in Indianapolis, Indiana at all

 relevant times.

 5.      Plaintiff Allison Randle was a student at Harrison College in Indianapolis, Indiana at all

 relevant times.

 6.      Plaintiff Ashlyn Bryant was a student at Harrison College in Indianapolis, Indiana at all

 relevant times.

 7.      Defendant Educational Management Corporation, d/b/a Harrison College (sometimes

 referred to herein as “Harrison College”), a/k/ a Harrison International, owned Harrison College,

 located at 500 Meridian, Suite 500, Indianapolis, IN 46204, at all relevant times. Harrison College

 was a private, for-profit college based in Indiana, with 11 campuses in Indiana, Ohio, and North

 Carolina.

 8.      Defendant Craig F. Pfannenstiehl was Chairman of Educational Management Corporation,

 Inc., at all relevant times.

 9.      Defendant Dr. James D. Hutton was President of Educational Management Corporation,

 Inc. at all relevant times.

 10.     Defendant Gregory C. Wallis was Treasurer of Educational Management Corporation Inc.,

 at all relevant times.

 11.     Defendant Michael T. Crowley was Secretary of Educational Management Corporation

 Inc., at all relevant times.

 12.     Defendant Kenneth Konesco was Director of Educational Management Corporation Inc.,

 at all relevant times.

 13.     Plaintiffs will be referred to collectively as “Plaintiffs” and Defendants will be referred to

 collectively as “Defendants” unless otherwise specified or designated.



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                                   FACTUAL ALLEGATIONS

 14.    Plaintiffs were all actively enrolled students at Harrison College in Indianapolis, Indiana

 on or about September 14, 2018.

 15.    Plaintiffs were not given prior notice by Harrison College officials that the private, for-

 profit college was closing.

 16.     Plaintiffs obtained financial means to continue their education at Harrison College for the

 fall quarter of 2018.

 17.    Several of the Plaintiffs secured financing for tuition and related costs by obtaining

 institutional loans through Harrison College.

 18.    Defendant Educational Management Corporation, d/b/a Harrison College, purchased

 Harrison College in 1986.

 19.    Harrison College also has a culinary division, the Chef’s Academy, also located in

 Indianapolis, Indiana, that closed on October 14, 2018.

 20.    Harrison College’s website showed Defendant Dr. Hutton becoming president and CEO of

 Harrison College in 2015.

 21.    In a business entity report filed by Harrison College on April 1, 2016, Defendant Craig

 Pfannenstiehl was named as a member of the board of directors.

 22.    On the Harrison College website, Craig Pfannenstiehl is also listed as Chairman of the

 Board and Director of Educational Management Corporation.

 23.    No ascertainable business filings validate Craig Pfannenstiehl’s status with Educational

 Management Corporation or Harrison College.




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 24.      Defendants Educational Management Corporation, d/b/a/ Harrison College, put the 4.7

 acre downtown campus on the real estate market in March 2017, setting $11.5 million as the selling

 price.

 25.      On June 30, 2017, Harrison College submitted a filing to the Indiana Secretary of State that

 amended its Articles of Incorporation.

 26.      Specifically, Harrison College amended Article 4 of the Articles of Incorporation, that

 changed the total number of shares of voting stock and voting powers of the voting stock.

 27.      Harrison College sold part of its downtown campus, located at 550 E. Washington St.,

 Indianapolis, Indiana, on August 10, 2018 for $6.3 million to an apartment developer.

 28.      At no time prior to, during, or after the sale, did Harrison College notify Plaintiffs of the

 pending sale of part of its campus.

 29.      Sometime in October of 2017, Defendant Educational Management Group sold the Chef’s

 Academy property to Mike Simmons for $2.24 million.

 30.      Defendants failed to notify Harrison College students or employees that they had put parts

 of Harrison College’s campus on the real estate market in 2017 and 2018.

 31.      Defendants gave students, including Plaintiffs no reason to believe that Harrison College

 was going to close, and induced their students, including Plaintiffs, to continue taking out student

 loans through the federal government and through Harrison College itself, to the financial

 detriment of students, including Plaintiffs.

 32.      Defendants put both the Chef’s Academy campus and the recently sold portion of Harrison

 College’s campus on the real estate market in 2017.

 33.      Harrison College’s website stated that Educational Management Corporation “does not

 have any other divisions, subsidiaries, or affiliates.”



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  34.     Craig Pfannenstiehl was also President and CEO of another company, Educor, Inc.,

  established in the 1980s and purportedly in the business of higher education management.

  35.     Further information pertaining to Educor, Inc., is unavailable as its website has been taken

  down.

  36.     Educor, Inc., is not otherwise registered with the Indiana Secretary of State.

  37.     On September 14, 2018, students, including Plaintiffs, arrived on campus for class and

  were notified by social media and news outlets that Harrison College was officially closed.

  38.     Defendants did not provide notice or follow-up contact information for students with

  outstanding loans from Harrison College.

  39.     Students, including Plaintiffs, who had institutional loans through Harrison College

  attempted to contact ECSI, the loan servicer for Harrison College, to find out further information

  pertaining to payment.

  40.     ECSI told students, including Plaintiffs, that it was no longer servicing the Harrison

  College loans and that the loans had been sent back to Harrison College.

  41.     Defendant Harrison College failed to contact or provide additional information pertaining

  to the status of students’, including Plaintiffs’, institutional loans.

  42.     Defendant Harrison College had instructed Harrison College students, including

  Plaintiffs,that they could not simultaneously have full time jobs and attend Harrison College.

  43.     Students, including Plaintiffs, reduced their working hours as a result of Defendants’

  representations that students could not work full time while attending Harrison College.

  44.     Several Plaintiffs were attending Harrison College’s ADN program to secure additional

  training to become Registered Nurses.




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  45.    Upon the closure of Harrison College, Plaintiffs contacted other nursing programs in

  Indiana, including Ivy Tech, Anderson University, Chamberlain University, Indiana University,

  Purdue University, and WGU, all of which are not accepting Harrison College class credits.

  46.    Harrison College students, including Plaintiffs, could not transfer many of the credits from

  Harrison College to other programs because Harrison College was not accredited.

  47.    After comparing the actions of Defendants with the pattern of other companies that held

  private, for-profit colleges, Plaintiffs are informed and believe that Defendants were engaged in

  intentional actions to promulgate and collect money from students for tuition for as long as

  possible, knowing that students would not be able to graduate or even transfer all of their Harrison

  College credits elsewhere. In addition, Defendants were engaged in practices that obscured the

  underlying action of selling the campuses on the real estate market for profit, before eventually

  transferring the funds into other entities, in order to avoid detection or further be faced with

  penalties; all to the detriment of students, including Plaintiffs, and for the profit of Defendants.

                       CLASS DEFINITION AND CLASS ALLEGATIONS

  48.    Plaintiffs bring this action on behalf of themselves and as a class action under Ind. R. Tr.

  P. 23 on behalf of all members of the following Class: All persons enrolled as students at Harrison

  College on September 14, 2018.

  49.    Plaintiffs reserve the right to amend the definition of the Class if discovery or further

  investigation reveals that the class should be expanded or otherwise modified.

  50.    This action satisfies the requirements of Ind. R. Tr. P. 23(A)(1) as the Class is so numerous

  that individual joinder of all Class Members is impracticable.




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  51.    This action satisfies the requirements of Ind. R. Tr. P. 23(A)(2) and 23(A)(3) because

  questions of law and fact relate to and affect the rights of the Plaintiffs and each Class member,

  and the claims of the Plaintiffs are typical of the claims of the entire Class.

  52.    This action satisfies the requirements of Ind. R. Tr. P. 23(A)(4) because Plaintiffs’ claims

  in this action and the claims of the Class members arise from the same course of conduct by

  Defendants and Plaintiffs will fairly and adequately protect the interests of the Class. The relief

  Plaintiffs seek is typical of the relief sought for the absent Class members. Plaintiffs seek

  compensatory damages common to the Class and also seek to redress the unlawful conduct of

  Defendants.

  53.    This Class Action Complaint brought by the named Plaintiffs is typical of the claims of the

  Class in that the named Plaintiffs and Class members were students enrolled at Harrison College

  during the relevant period of time and did not have the opportunity to complete their coursework

  toward a Harrison College degree despite paying substantial sums to Harrison College.

  54.    The Class is ascertainable because its members can be readily identified from Defendants’

  records and/or databases. Notice, if required, can be provided to Class members by first class mail

  and/or by published notice using techniques and forms of notice similar to those customarily used

  in class action litigation or by higher education institutions, including Harrison College.

  55.    Class certification is also appropriate because the cost of litigation may prevent class

  members from bringing individual cases. Yet class members are in need of the relief sought herein,

  and Defendants are liable for the harm to Plaintiffs and the Class. Without class certification, Class

  members will be unable to seek proper redress for the harm.

  56.    This action satisfies the requirements of Ind. R. Tr. P. 23(B)(1)(a) and (b) because the

  prosecution of separate actions by the individual Class members on the claims asserted herein



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  would create a risk of inconsistent or varying adjudications for individual Class members, which

  would establish incompatible standards of conduct for Defendants; and because adjudication with

  respect to individual Class members would, as a practical matter, be dispositive of the interests of

  other Class members, or impair substantially or impede their ability to protect their interests.

  57.    This action satisfies the requirements of Ind. R. Tr. P. 23(B)(2) because Defendants have

  acted and refused to act on grounds generally applicable to each Class Member, thereby making

  appropriate final injunctive and/or corresponding declaratory relief with respect to each Class

  Member.

  58.    This action satisfies the requirements of Ind. R. Tr. P. 23(B)(3) because a class action is

  superior to other available methods for the fair and efficient adjudication of this controversy.

  Common questions of law and fact regarding Defendants’ conduct and responsibility predominate

  over any questions affecting only individual Class members.

  59.    The conduct of this action as a class action presents far fewer management difficulties, far

  better conserves judicial resources and the parties’ resources, and far more effectively protects the

  rights of each Class member than would piecemeal litigation. Compared to the expense, burdens,

  inconsistencies, economic infeasibility, and inefficiencies of individualized litigation, the

  challenges of managing this action as a class action are substantially outweighed by the benefits

  to the legitimate interests of the parties, the court, and the public of class treatment in this court,

  making class adjudication superior to other alternatives, under Ind. R. Tr. P. 23(B)(3)(d).

  60.    Plaintiffs are not aware of any obstacles likely to be encountered in the management of this

  action that would preclude its maintenance as a class action. Rule 23 provides the Court with

  authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

  reduce management challenges.



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  61.    Undersigned counsel will fairly and adequately represent the interests of the Class, have

  identified or investigated the Class members’ potential claims, are experienced in handling class

  actions, other complex litigation, and claims of the type asserted in this action, know the applicable

  law, will commit sufficient resources to represent the class, and are best able to represent the Class.

                                            COUNT 1
                                       BREACH OF CONTRACT

  62.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  63.    Plaintiffs were parties to Enrollment Agreements with Educational Management

  Corporation, d/b/a/ Harrison College. Plaintiffs performed their obligations under the Enrollment

  Agreements with Educational Management Corporation, d/b/a/ Harrison College.

  64.    Defendants Educational Management Corporation, d/b/a/ Harrison College, as well as,

  Defendant Craig Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant

  Kenneth Konesco, and Defendant Michael Crowley, failed and neglected to perform one or more

  of the terms of the Agreements; including, but not limited to, that Harrison College accepted

  Plaintiffs as students and thereafter failed to honor their student contracts by abruptly withdrawing

  from providing services and education to Plaintiffs as proscribed by the Enrollment Agreements.

  65.    As a direct, proximate, and legal result of Defendants’ breach, students, including

  Plaintiffs, have suffered damages.

                                         COUNT 2
                                 EDUCATIONAL MALPRACTICE

  66.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.




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  67.    Defendant Educational Management Corporation, d/b/a/ Harrison College, Defendant

  Craig Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael

  Crowley, and Defendant Kenneth Konesco, as the persons and entities responsible for the

  educational policies and procedures of Harrison College, were responsible for ensuring adequate

  educational procedures and policies were in place.

  68.    Defendants, as the persons and entities responsible for the educational policies and

  procedures of Harrison College, were responsible for ensuring proper funding for students,

  including Plaintiffs, attending Harrison College.

  69.    Defendants, as the persons and entities responsible for the educational policies and

  procedures of Harrison College, were responsible for providing sufficient notice to students,

  including Plaintiffs, of Harrison College regarding the impending closure of Harrison College.

  70.    Defendants failed to provide any notice of the impending closure of Harrison College to

  students, including Plaintiffs.

  71.    Defendants failed to exercise the ordinary skill and knowledge possessed by other

  purveyors of postsecondary education in a private, for-profit college context.

  72.    Defendants violated their duties as purveyors of Harrison College by failing to uphold

  duties to inform students, including Plaintiffs, of the impending closure of Harrison College, to

  ensure proper funding, as well as to ensure adequate educational procedures and policies.

  73.    Defendants also failed to deal openly, fairly, and honestly, in selling part of the land that

  Harrison College was located on while students, including Plaintiffs, were still enrolled and

  enrolling in future courses at Harrison College.

  74.    Defendants failed to educate students, including Plaintiffs, in a proper manner.




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  75.    As a direct, proximate, and legal result of Harrison College’s malpractice, students,

  including Plaintiffs, have suffered damages.

                                             COUNT 3
                                              FRAUD

  76.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  77.    Defendant Educational Management Corporation, d/b/a/ Harrison College, Defendant

  Craig Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael

  Crowley, and Defendant Kenneth Konesco, falsely and fraudulently represented to students,

  including Plaintiffs, that Harrison College was open for enrollment and was not otherwise closing

  or stopping admissions during 2017-2018.

  78.    The representations were false; in truth, Defendants were preparing to strip Harrison

  College of its financial assets and subsequently and immediately close Harrison College.

  79.    As early as the Spring of 2017, Defendants made plans to sell Harrison College’s property

  and close Harrison College.

  80.    Defendants did not disclose these plans to students, including Plaintiffs.

  81.    Defendants continued to encourage students, including Plaintiffs, to take out federal and

  private loans through Harrison College in order to fund an education that Defendants knew would

  likely not result in graduation from Harrison College.

  82.    Defendants made representations, statements, and omissions that Defendants knew to be

  false and misleading, with the intent to deceive and defraud students, including Plaintiffs, and to

  induce them to agree to continue their education at Harrison College, as well as to continue to pay

  tuition and seek federal aid.




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  83.    Students, including Plaintiffs, at the time such representations and statements were made,

  believed that the representations and statements were true and relied upon them and were thereby

  induced to continue investing and borrowing money to pay for their education at Harrison College.

  84.    As a direct, proximate, and legal result of Defendants’ fraud, students, including Plaintiffs,

  have suffered damages.

                                          COUNT 4
                                     CONSTRUCTIVE FRAUD

  85.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  86.    Defendant Educational Management Corporation, d/b/a/ Harrison College, as well as the

  individuals and entities responsible for running Harrison College, including Defendant Craig

  Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael Crowley,

  and Defendant Kenneth Konesco, were obligated to deal fairly with students, including Plaintiffs,

  because a special, fiduciary relationship existed between them because Harrison College was a

  proprietary educational institution.

  87.    Defendant Educational Management Corporation, d/b/a/ Harrison College, violated the

  obligation to deal fairly by misrepresenting present and future promises by representing and/or

  remaining silent when Harrison College had an obligation to disclose its impending closure.

  88.    Defendant Educational Management Corporation, d/b/a/ Harrison College, violated the

  obligation to deal fairly by failing to disclose that Defendants had determined to sell Harrison

  College’s land in 2017 and that a real estate company had actually purchased the land.

  89.    Students, including Plaintiffs, justifiably relied on Harrison College’s representations and

  omissions.

  90.    Defendants unjustifiably gained at the expense of Plaintiffs.

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  91.     Defendants stripped the financial assets of Harrison College, sold land that Harrison

  College was located on, and therefore gained financial advantage while simultaneously

  disadvantaging students, including Plaintiffs.

  92.     As a result, students, including Plaintiffs, were unable to complete their educational

  programs at Harrison College, were saddled with thousands of dollars in student loan debt, and

  invested in college credits that will not be credited toward a degree at another higher education

  institution.

  93.     As a direct, proximate, and legal result of Defendants’ fraud, students, including Plaintiffs,

  have suffered damages.

                                            COUNT 5
                                    BREACH OF FIDUCIARY DUTY

  94.     Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  95.     Defendant Educational Management Corporation, d/b/a/ Harrison College, Defendant

  Craig Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael

  Crowley, and Defendant Kenneth Konesco, owed students, including Plaintiffs, a fiduciary duty

  to act openly, honestly, and fairly, while responsible for the ongoing existence of Harrison College.

  96.     By their actions and inactions set forth above, Defendants breached their fiduciary duty to

  students, including Plaintiffs.

  97.     As a direct, proximate, and legal result of Defendants’ acts and omissions, students,

  including Plaintiffs, have suffered damages.

  98.     The acts and omissions constituting breach of Defendants’ fiduciary duties were committed

  with oppression, fraud and/or malice, and as a result, students, including Plaintiffs, in addition to

  actual damages, may recover punitive damages.

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                                         COUNT 6
                                    UNJUST ENRICHMENT

  99.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  100.   The students, including Plaintiffs, by the actions set forth above, conferred a measurable

  benefit on Defendants and Defendants’ retention of that benefit under these circumstances would

  be unjust.

                                       COUNT 7
                             PIERCING THE CORPORATE VEIL

  101.   Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  102.   Defendant Educational Management Corporation, d/b/a/ Harrison College, and its other

  corporate forms, were underfunded and shareholder acts or conduct ignored, controlled, and

  manipulated the corporate forms thereof.

  103.   Educational Management Corporation, d/b/a/ Harrison College, and the individuals and

  entities responsible for running Harrison College, including: Defendant Craig Pfannenstiehl,

  Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael Crowley, Defendant and

  Kenneth Konesco, sold parts of Harrison College and the Chef’s Academy in advance to shutting

  down the campuses.

  104.   Defendants sold parts of Harrison College and the Chef’s Academy and continued to accept

  enrollment and student loans for Harrison College students, including Plaintiffs, in advance to

  shutting down the campuses.

  105.   Plaintiffs believe upon information that Defendants have underfunded and underutilized

  the resources for Harrison College in order to divest Harrison College of its assets, receive the



                                                 14
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  income from those assets, and then shut down Harrison College and use the income from the assets

  for their own uses and plans.

  106.   As a direct, legal, and proximate result of the actions of Defendants, Plaintiffs have suffered

  economic damages.

                                              COUNT 8
                                            CONVERSION

  107.   Plaintiffs incorporate by reference the preceding paragraphs of this complaint as fully set

  forth herein.

  108.   Defendant Educational Management Corporation, d/b/a/ Harrison College, and the

  individuals and entities responsible for running Harrison College, including Defendant Craig

  Pfannenstiehl, Defendant James Hutton, Defendant Gregory Wallis, Defendant Michael Crowley,

  and Defendant Kenneth Konesco, by continuing to accept tuition and loans through the most recent

  academic quarter, despite the facts set forth in this Complaint, knowingly and intentionally took

  tuition and loan money from students, including Plaintiffs, with the intent to permanently deprive

  those students, including Plaintiffs, of their money, with no intent to pay them back or provide the

  value that the students, including Plaintiffs, expected from their tuition and loans.

  109.   As a direct, legal, and proximate cause of the actions of Defendants, including Plaintiffs,

  have suffered economic damages.

                                       PRAYER FOR RELIEF

  110.   Plaintiffs respectfully request that this Court award students’, including Plaintiffs’,

  damages based on the claims set forth in this Complaint, including treble damages;

  111.   Plaintiffs respectfully request this Court award Plaintiffs the costs of the suit, including

  reasonable attorneys’ fees; and




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  112.        Plaintiffs respectfully request this      Court award Plaintiffs such other and further relief as


  this   Court deems just under the Circumstances, including any and                   all   compensatory and punitive

  damages permitted by law.

                                         RESERVATION OF RIGHTS

  113.        Plaintiff reserves the right t0 proceed with          any and   all   claims which the facts averted in


  this   complaint support, pursuant t0 the notice pleading requirement of Indiana Trial Rule                  8.



              WHEREFORE, Plaintiffs respectfully request this Court enter judgment in favor 0f them

  on   all   counts of this Complaint, award them compensatory damages and punitive damages as well


  as litigation costs,      and grant them such other and further        relief as this      Court deems just under the


  circumstances, including, but not limited            to,   a public apology, attorney’s fees, and pre- and post-


 judgment       interest.




                                         DEMAND FOR JURY TRIAL
              Plaintiffs   hereby demand a   trial   by jury of all issues so   triable.



  Dated: October 25, 20 1 8
                                                                    Respectfully submitted,


                                                                    /s/Andrea L. Ciobanu
                                                                    Andrea L. Ciobanu, #28942-49
                                                                    Carly Roseboom, #35349-32
                                                                    CIOBANU LAW, P.C.
                                                                    8910 Purdue Road
                                                                                        46268
                                                                    Indianapolis, Indiana
                                                                    Telephone: (317) 495-1090
                                                                    Facsimile: (866) 841-2071
                                                                    Email: aciobanu@ciobanulaw.com
                                                                    Email: croseboom@ci0banulaw.com




                                                               16
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 22 of 53 PageID #: 33



                                   CERTIFICATE OF SERVICE

         I certify that on October 25, 2018, I electronically filed the foregoing with the Clerk of the
  Court via IEFS.

         I further certify that on October 25, 2018 a copy of this document was mailed, by first-
  class United States Mail, Postage Pre-Paid, and properly addressed to the following:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

                                                        Respectfully submitted,

                                                        /s/ Andrea L. Ciobanu_____
                                                        Andrea L. Ciobanu, #28942-49
                                                        Carly Roseboom, #35349-32
                                                        CIOBANU LAW, P.C.




                                                   17
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 23 of 53 PageID   #: 34Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Craig Pfannenstiehl
         1 Richland Rd.,
         Wellesley Hills, MA 02481

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


       10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 24 of 53 PageID   #: 35Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Defendant Educational Management Corporation
         c/o Michael T. Crowley, Registered Agent
         c/o Charles Restivo, President
         10970 Andrews Place
         Fishers, IN 46037

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


       10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 25 of 53 PageID   #: 36Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Dr. James D. Hutton, President of Educational Management Corporation
         Career Quest Learning Centers, Lansing Campus
         3215 S. Pennsylvania Ave.
         Lansing, MI 48910

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


        10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 26 of 53 PageID   #: 37Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Gregory Wallis, Treasurer of Educational Management Corporation
         7710 N. Whittier Pl.,
         Indianapolis, IN 46250

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


        10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 27 of 53 PageID   #: 38Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Michael Crowley, Secretary of Educational Management Corporation
         10970 Andrews Place
         Fishers, IN 46037

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


        10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                            49D02-1810-CT-042978                         Filed: 10/25/2018 5:06 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 28 of 53 PageID   #: 39Myla A. Eldridge
                                    Marion Superior Court, Civil Division 2                                         Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                            Cause No.
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                               SUMMONS

  TO:    Kenneth Konesco, Director of Educational Management Corporation
         710 Tamenend Trace
         Fishers, IN 46037

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.


        10/26/2018
  Date:_____________________                                ____________________________________
                                                            Clerk, Marion County
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 29 of 53 PageID  #: 40Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Educational Management Corporation
         c/o Michael T. Crowley
         10970 Andrews Place
         Fishers, IN 46037

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9407 1118 9956 0740 5548 94
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 30 of 53 PageID  #: 41Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Michael Crowley
         Secretary of Educational Management Corp
         10970 Andrews Place
         Fishers, IN 46037

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9407 1118 9956 0740 5669 03
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 31 of 53 PageID  #: 42Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Dr. James D. Hutton, President of Educational Management Corporation
         550 E. Washington St.,
         Indianapolis, IN 46204

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9414 8118 9956 0740 5643 74
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 32 of 53 PageID  #: 43Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Kenneth Konesco
         Director of Educational Management Corporation
         710 Tamenend Trace
         Fishers, IN 46037

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9407 1118 9956 0740 5902 50
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 33 of 53 PageID  #: 44Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Craig Pfannenstiehl
         1 Richland Rd.,
         Wellesley Hills, MA 02481

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9407 1118 9956 0740 5248 97
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/30/2018 9:28 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 34 of 53 PageID  #: 45Myla A. Eldridge
                                                                                                                Clerk
                                                                                               Marion County, Indiana



  STATE OF INDIANA              )                 IN THE MARION COUNTY COURT 2
                                ) SS:
  COUNTY OF MARION              )                 CAUSE NO. 49D02-1810-CT-042978

  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
            v.                          )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL               )
  CROWLEY, and KENNETH KONESCO,         )
                                        )
                  Defendants.           )

                          CERTIFICATE OF ISSUANCE OF SUMMONS

         I hereby affirm that pursuant to Indiana Rules of Trial Procedure I have attempted service
  of Petitioner’s Verified Petition for Dissolution of Marriage and Summons on the following
  person at the following address as indicated:
         Gregory Wallis
         Treasurer of Educational Management Corporation
         7710 N. Whittier Place
         Indianapolis, IN 46250

  Service was attempted by:

         Certified or Registered Mail
         Tracking Number: 9407 1118 9956 0740 5608 02
         Date Mailed: October 29, 2018

                                                  Respectfully Submitted,

                                                  _/s/ Andrea L. Ciobanu________________
                                                  Andrea L. Ciobanu, Atty. No. 28942-49
                                                  Ciobanu Law, P.C.
                                                  8910 Purdue Road, Suite 240
                                                  Indianapolis, IN 46268
                                                  Telephone:     (317) 495-1090
                                                  Fax:           (866) 841-2071
                                                                        Filed: 10/31/2018 11:14 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 35 of 53 PageID    #: 46
                                                                                   Myla A. Eldridge
                                                                                                             Clerk
                                                                                            Marion County, Indiana



  STATE OF INDIANA               )
                                 )
  COUNTY OF MARION               )                           Cause No. 49D02-1810-CT-042978
                                                      )
  TIFFANIE GRIMM, REBECCA NAUE,                       )
  ROBIN BOSTON, ALLISON RANDLE,                       )
  and ASHLYN BRYANT,                                  )
                                                      )
                         Plaintiffs,                  )
                                                      )
                 v.                                   )
                                                      )
  HARRISON COLLEGE, CRAIG                             )
  PFANNENSTIEHL, JAMES HUTTON,                        )
  GREGORY WALLIS, MICHAEL                             )
  CROWLEY, KENNETH KONESCO,                           )
  EDUCATIONAL MANAGEMENT                              )
  CORPORATION, and EDUCOR, INC.,                      )
                                                      )
                         Defendants.                  )

    PLAINTIFFS’ VERIFIED REQUEST FOR TEMPORARY RESTRAINING ORDER
                  PURUSANT TO INDIANA TRIAL RULE 65(B)

         COMES NOW, Plaintiffs Tiffanie Grimm, Rebecca Naue, Robin Boston, Allison

  Randle, and Ashlyn Bryant, and in support of their Verified Request for Temporary Restraining

  Order Pursuant to Indiana Trial Rule 65(B), state as follows:

         1.      On October 24, 2018, Plaintiffs filed their Class Action Complaint for Damages

  and Demand for Jury Trial against the named Defendants in this matter. The Complaint sets forth

  causes of action against Defendants based upon Defendants’ wrongful closure, without notice, of

  Harrison College and the damages suffered by students at the College as of September 14, 2018,

  as a result of such closure.

         2.      Before the filing of the complaint, and continuing since that time, Defendants

  have been liquidating all of Harrison College’s assets through online auctions. Key Auctioneers,

  a third-party auctioneer website, has been conducting the online bidding for such items as
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 36 of 53 PageID #: 47



  veterinary equipment, supplies, dental equipment and tools, office furniture, computers, break

  room furnishings, vehicles, and other pieces of property and assets held by Defendant Harrison

  College.

         3.      Because of the nature of the claims brought against Defendants in this matter,

  including fraud, and the evasive actions of Defendants in poaching and liquidating the assets of

  Harrison College to the detriment of students, Defendants should be prevented from spending or

  otherwise disposing of any proceeds from the sale and liquidation of the Harrison College assets

  until this lawsuit has been resolved. Rather, all such proceeds should be placed in a trust account

  to be held until this lawsuit and Plaintiffs’ claims on the funds have been resolved.

         4.      As the wrongful actions of Defendants in liquidating the Harrison College assets

  and presumably disposing of the proceeds from those sales are ongoing, immediate and

  irreparable injury, loss, and damage will result to students, including Plaintiffs, if a temporary

  restraining order does not issue before the claims can be heard.

         5.      Plaintiffs therefore respectfully request that this Court issue a Temporary

  Restraining Order: (1) preventing Defendants, and any third party, including Indianapolis-based

  Key Auctioneers, from removing and spending or otherwise disposing of proceeds from the sale

  of any and all of a Defendant’s assets; (2) requiring that any third party liquidating any of

  Defendants’ assets hold all proceeds from such sales in a trust account pending the outcome of

  this lawsuit; and (3) requiring any Defendant to apply to this Court before liquidating any assets

  without the involvement of a third party that can hold such assets in trust.

         WHEREFORE, Plaintiffs, by Counsel, respectfully request that this Court grant the

  relief as requested in this Motion.

  Dated: October 31, 2018



                                                   2
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 37 of 53 PageID #: 48



                                                  Respectfully submitted,


                                                  s/Andrea Ciobanu
                                                  Andrea L. Ciobanu, #28942-49
                                                  Carly Roseboom, #35349—32
                                                  CIOBANU LAW,        P.C.
                                                  8910 Purdue Road, Suite 240
                                                              IN 46268
                                                  Indianapolis,
                                                  Telephone:    (3 17) 495-1090
                                                  Email: aciobanu@ciobanulaw.com
                                                  Email: croseboomchiobanulaw.com




                                             VERIFICATION

  I   afﬁrm, under the penalties for perjury, that the foregoing representations are true to the best 0f


  my knowledge     and   belief.


                                                   521nm   Z Own,“
                                                  Andrea   L. Ciobanu,   #28942—49
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 38 of 53 PageID #: 49



                                        ATTORNEY CERTIFICATION

  Ihereby    certify that   on October 29, 201 8, an email was sent   to alleged email addresses, including
  CRAIGPFANNENSTIEHLQDhotmai1.00m, PFANNENSTIEHL@gmai1.com,
  CFP@educorinc.com, CFP@bavstate.edu, C.PFANNENSTIEHL@bavstate.edu,
  CPFANNENSTIEHL@bavstate.edu, KKONESCO®Vahoo.c0m, KONESCO@a01.com,
  MKONESCO@aol.c0m, KONESCO@attbi.co, KONESCO@attb1.com,
  JKONESCO@hotmail.com, KEN.KONESCO@harrison.edu,
  KEN.KONESCO@ibcschools.edu, JKONESCO@ibcsch001s.edu,
  GREGORY.C.WALLIS@usatthurandersen.com, GREGORY.WALLIS@Vahoo.com,
  GCWALLIS@att.net, GREGORY.WALLIS@hotmail.com, for multiple defendants in this
  matter, including Craig Pfannenstiehl, Kenneth Konesco, and Gregory Wallis. The email notiﬁed
  the defendants that they were named in both a federal and state class action against Harrison
  College, and that it had come to our attention that Harrison College’s assets and propeﬁy were
  being auctioned off. The email requested that the defendants refrain from acting t0 disperse, lien,
  sell,   encumber, 0r otherwise dispose 0f any other Harrison College property. A public records
  search    was also conducted, wherein my staff called phone numbers that were supposedly related
  to Craig Pfannenstiehl (781—772-1767),Gregory Wallis (3 17-598-0133), Kenneth Konesco (3 17-
  849-4352) and Harrison College’s business address (317—447—6200). Most 0f the phone numbers
  were disconnected; except for the phone number associated with Craig Pfannenstiehl, Which
  belonged t0 a different individual.



                                                           Respectfully submitted,


                                                           /s/Andrea    Ciobanu
                                                                         L.
                                                           Andrea L. Ciobanu, #28942—49
                                                           Carly Roseboom, #35349-32
                                                           CIOBANU LAW, P.C.
                                                           891 0 Purdue Road, Suite 240
                                                           Indianapolis,      IN 46268
                                                           Telephone:          (317) 495-1090
                                                           Email:              aciobanu@ci0banulaw.com
                                                           Email:              croseboom@ci0banulaw.c0m
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 39 of 53 PageID #: 50



                                    CERTIFICATE OF SERVICE

         I certify that on October 31, 2018, I electronically filed the foregoing with the Clerk of
  the Court using the CM/ECF system which sent notification of such filing to the following:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

  Educor, Inc.,
  c/o Craig Pfannenstiehl, Registered Agent
  1 Richland Rd.,
  Wellesley Hills, MA 02481

                                                Respectfully submitted,

                                                /s/ Andrea Ciobanu_____________________
                                                Andrea L. Ciobanu, #28942-49
                                                Carly Roseboom, #35349-32
                                                CIOBANU LAW, P.C.




                                                   5
                                                                        Filed: 10/31/2018 11:14 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 40 of 53 PageID    #: 51
                                                                                   Myla A. Eldridge
                                                                                                                                           Clerk
                                                                                                                          Marion County, Indiana




  STATE OF INDIANA

  COUNTY OF MARION                                                                    Cause N0. 49D02—1810-CT-042978

  TlFFANlE GRIMM,REBECCA NAUE,
  ROBIN BOSTON, ALLISON RANDLE,
  and ASHLYN BRYANT,


                           Plaintiffs,

                                                           vvvvvvvvvvvvvvvvvvv




                  V.



  EDUCATIONAL MANAGEMENT
  CORPORATION, d/b/a/ HARRISON COLLEGE,
  CRAIG PFANNENSTIEHL, JAMES HUTTON,
  GREGORY WALLIS, MICHAEL CROWLEY,
  and KENNETH KONESCO,


                           Defendants.


                   MOTION TO TRANSFER CASE TO COMMERCIAL COURT
           COMES NOW, Plaintiffs Tiffanie Grimm, Rebecca Naue, Robin Boston, Allison Randle,

  and Ashlyn Bryant, on behalf of themselves and others similarly situated, and in support 0f their


  Motion   to Transfer   Case   to   Commercial Court, request                   that this matter is transferred t0   Marion

  County’s Commercial Court due t0 the nature 0f the claims in                          this suit.




                                                    Respectfully Submitted,


                                                    /s/Andrea Ciobanu
                                                    Andrea Ciobanu, Attorney #28942-49
                                                    Carly Roseboom, Attorney #35349-32
                                                    Ciobanu Law, P.C.
                                                    8910 Purdue Road, Suite 240
                                                    Indianapolis, IN 46268
                                                    aciobanugtDciobanulawcom
                                                    croseboom@ciobanulaw.com
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 41 of 53 PageID #: 52



                                    CERTIFICATE OF SERVICE

          I certify that on October 31, 2018, I electronically filed the foregoing via IEFS and sent
  copies of the above via Certified U.S. Mail, pre-postage paid to the following individuals:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

                                                Respectfully submitted,

                                                /s/ Andrea Ciobanu_____________________
                                                Andrea L. Ciobanu, #28942-49
                                                Carly Roseboom, #35349-32
                                                CIOBANU LAW, P.C.




                                                   2
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18F Page
                                                        I L E42D
                                                               of 53 PageID #: 53
                                                                     October 31, 2018

                                                                 CLERK OF THE COURT
                                                                   MARION COUNTY
                                                                               BS
  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                   Cause No. 49D02-1810-CT-042978
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )                                   GRANTED
             v.                         )                                    October 31, 2018
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

           ORDER ON MOTION TO TRANSFER CASE TO COMMERCIAL COURT

         This matter having come before the Court by Plaintiffs’ Motion to Transfer Case to

  Commercial Court, and the Court having reviewed the same and being duly advised, now

  GRANTS Plaintiffs’ Motion to Transfer Case to Commercial Court. assuming this is a matter typically
                                                                  handled by the Commercial Court
            October 31, 2018
  Dated:____________________                      __________________________________
                                                                BS
                                                                  the Court accepts jurisdiction.
                                                  Judge, Marion County Court




                                                 1
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 43 of 53 PageID #: 54



  Distribution:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

  Andrea L. Ciobanu, #28942-49
  Carly Roseboom, #35349-32
  CIOBANU LAW, P.C.
  8910 Purdue Road, Suite 240
  Indianapolis, IN 46268




                                              2
                                                                         Filed: 11/5/2018 9:23 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 44 of 53 PageID  #: 55
                                                                                 Myla A. Eldridge
                                                                                                             Clerk
                                                                                            Marion County, Indiana



  STATE OF INDIANA               )
                                 )
  COUNTY OF MARION               )                           Cause No. 49D01-1810-CT-042978
                                                      )
  TIFFANIE GRIMM, REBECCA NAUE,                       )
  ROBIN BOSTON, ALLISON RANDLE,                       )
  and ASHLYN BRYANT,                                  )
                                                      )
                         Plaintiffs,                  )
                                                      )
                 v.                                   )
                                                      )
  HARRISON COLLEGE, CRAIG                             )
  PFANNENSTIEHL, JAMES HUTTON,                        )
  GREGORY WALLIS, MICHAEL                             )
  CROWLEY, KENNETH KONESCO,                           )
  EDUCATIONAL MANAGEMENT                              )
  CORPORATION, and EDUCOR, INC.,                      )
                                                      )
                         Defendants.                  )

    PLAINTIFFS’ VERIFIED REQUEST FOR TEMPORARY RESTRAINING ORDER
                  PURUSANT TO INDIANA TRIAL RULE 65(B)

         COMES NOW, Plaintiffs Tiffanie Grimm, Rebecca Naue, Robin Boston, Allison

  Randle, and Ashlyn Bryant, and in support of their Verified Request for Temporary Restraining

  Order Pursuant to Indiana Trial Rule 65(B), state as follows:

         1.      On October 24, 2018, Plaintiffs filed their Class Action Complaint for Damages

  and Demand for Jury Trial against the named Defendants in this matter. The Complaint sets forth

  causes of action against Defendants based upon Defendants’ wrongful closure, without notice, of

  Harrison College and the damages suffered by students at the College as of September 14, 2018,

  as a result of such closure.

         2.      Before the filing of the complaint, and continuing since that time, Defendants

  have been liquidating all of Harrison College’s assets through online auctions. Key Auctioneers,

  a third-party auctioneer website, has been conducting the online bidding for such items as
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 45 of 53 PageID #: 56



  veterinary equipment, supplies, dental equipment and tools, office furniture, computers, break

  room furnishings, vehicles, and other pieces of property and assets held by Defendant Harrison

  College.

         3.      Because of the nature of the claims brought against Defendants in this matter,

  including fraud, and the evasive actions of Defendants in poaching and liquidating the assets of

  Harrison College to the detriment of students, Defendants should be prevented from spending or

  otherwise disposing of any proceeds from the sale and liquidation of the Harrison College assets

  until this lawsuit has been resolved. Rather, all such proceeds should be placed in a trust account

  to be held until this lawsuit and Plaintiffs’ claims on the funds have been resolved.

         4.      As the wrongful actions of Defendants in liquidating the Harrison College assets

  and presumably disposing of the proceeds from those sales are ongoing, immediate and

  irreparable injury, loss, and damage will result to students, including Plaintiffs, if a temporary

  restraining order does not issue before the claims can be heard.

         5.      For purposes of clarifying the record, Plaintiffs filed this same motion on October

  31, 2018, under the 49D02-1810-CT-042978 cause number, before the request to transfer this

  matter to commercial court was granted.

         6.      Plaintiffs therefore respectfully request that this Court issue a Temporary

  Restraining Order: (1) preventing Defendants, and any third party, including Indianapolis-based

  Key Auctioneers, from removing and spending or otherwise disposing of proceeds from the sale

  of any and all of a Defendant’s assets; (2) requiring that any third party liquidating any of

  Defendants’ assets hold all proceeds from such sales in a trust account pending the outcome of

  this lawsuit; and (3) requiring any Defendant to apply to this Court before liquidating any assets

  without the involvement of a third party that can hold such assets in trust.



                                                   2
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 46 of 53 PageID #: 57



           WHEREFORE,               Plaintiffs,   by Counsel,   respectfully request that this Court grant the


  relief as requested in this   Motion.


  Dated:   November    5,   201 8


                                                         Respectfully submitted,


                                                         s/Andrea Ciobanu
                                                         Andrea L. Ciobanu, #28942-49
                                                         Carly Roseboom, #35349—32
                                                         CIOBANU LAW,          P.C.
                                                         8910 Purdue Road, Suite 240
                                                                     IN 46268
                                                         Indianapolis,
                                                         Telephone:    (3 17) 495-1090
                                                         Email: aciobanu@ciobanulaw.com
                                                         Email: croseboom@ciobanulaw.com




                                                    VERIFICATION

  I   afﬁrm, under the penalties for perjury, that the foregoing representations are true t0 the best 0f


  my knowledge     and   belief.


                                                         W
                                                         Andrea
                                                                   21’   Cum
                                                                  L. Ciobanu,   #28942—49
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 47 of 53 PageID #: 58



                                        ATTORNEY CERTIFICATION

  Ihereby    certify that   on October 29, 201 8, an email was sent   t0 alleged email addresses, including
  CRAIGPFANNENSTIEHLQDhotmai1.00m, PFANNENSTIEHL@gmai1.com,
  CFP@educorinc.com, CFP@bavstate.edu, C.PFANNENSTIEHL@bavstate.edu,
  CPFANNENSTIEHL@bavstate.edu, KKONESCO®Vahoo.c0m, KONESCO@a01.com,
  MKONESCO@aol.c0m, KONESCO@attbi.co, KONESCO@attb1.com,
  JKONESCO@hotmail.com, KEN.KONESCO@harrison.edu,
  KEN.KONESCO@ibcschools.edu, JKONESCO@ibcsch001s.edu,
  GREGORY.C.WALLIS@usatthurandersen.com, GREGORY.WALLIS@Vahoo.com,
  GCWALLIS@att.net, GREGORY.WALLIS@hotmail.com, for multiple defendants in this
  matter, including Craig Pfannenstiehl, Kenneth Konesco, and Gregory Wallis. The email notiﬁed
  the defendants that they were named in both a federal and state class action against Harrison
  College, and that it had come to our attention that Harrison College’s assets and propeﬁy were
  being auctioned off. The email requested that the defendants refrain from acting t0 disperse, lien,
  sell,   encumber, 0r otherwise dispose 0f any other Harrison College property. A public records
  search    was also conducted, wherein my staff called phone numbers that were supposedly related
  to Craig Pfannenstiehl (781—772-1767),Gregory Wallis (3 17-598—0133), Kenneth Konesco (317-
  849-4352) and Harrison College’s business address (317—447—6200). Most 0f the phone numbers
  were disconnected; except for the phone number associated with Craig Pfannenstiehl, Which
  belonged t0 a different individual.



                                                           Respectfully submitted,


                                                           /s/Andrea    Ciobanu
                                                                         L.
                                                           Andrea L. Ciobanu, #28942—49
                                                           Carly Roseboom, #35349-32
                                                           CIOBANU LAW, P.C.
                                                           891 0 Purdue Road, Suite 240
                                                           Indianapolis,      IN 46268
                                                           Telephone:          (317) 495-1090
                                                           Email:              aciobanu@ciobanulaw. com
                                                           Email:              croseboom@ci0banulaw.c0m
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 48 of 53 PageID #: 59



                                   CERTIFICATE OF SERVICE

         I certify that on November 5, 2018, I electronically filed the foregoing via IEFS and via
  U.S. Certified Mail which sent notification of such filing to the following:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

  Educor, Inc.,
  c/o Craig Pfannenstiehl, Registered Agent
  1 Richland Rd.,
  Wellesley Hills, MA 02481

                                               Respectfully submitted,

                                               /s/ Andrea Ciobanu_____________________
                                               Andrea L. Ciobanu, #28942-49
                                               Carly Roseboom, #35349-32
                                               CIOBANU LAW, P.C.




                                                  5
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 49 of 53 PageID #: 60



  STATE OF INDIANA                )
                                  )                                            D01
  COUNTY OF MARION                )                                Cause No. 49D02-1810-CT-042978
                                                          )
  TIFFANIE GRIMM, REBECCA NAUE,                           )
  ROBIN BOSTON, ALLISON RANDLE,                           )
  and ASHLYN BRYANT,                                      )
                                                          )
                        Plaintiffs,                       )
                                                          )
                v.                                        )                   FILED
                                                                              November 8, 2018
                                                          )
  HARRISON COLLEGE, CRAIG                                 )               CLERK OF THE COURT
  PFANNENSTIEHL, JAMES HUTTON,                            )                 MARION COUNTY
                                                                                        LB
  GREGORY WALLIS, MICHAEL                                 )
  CROWLEY, KENNETH KONESCO,                               )
  EDUCATIONAL MANAGEMENT                                  )
  CORPORATION, and EDUCOR, INC.,                          )
                                                          )
                        Defendants.                       )

  ORDER ON PLAINTIFFS’ VERIFIED REQUEST FOR TEMPORARY RESTRAINING
             ORDER PURUSANT TO INDIANA TRIAL RULE 65(B)

         This matter having come before the Court by Plaintiffs’ Verified Request for Temporary

  Restraining Order Pursuant to Indiana Trial Rule 65(B), and the Court having reviewed the same

  and   being   duly   advised,       now   sets   this   matter   for   an   evidentiary        hearing   on

      November 13, 2018 at 1:30 pm - 1 hr allotted
  _____________________________________________________________________________.
            November 8, 2018
  Dated:_____________________                             ____________________________________
                                                          Judge, Marion County Court
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 50 of 53 PageID #: 61



  Distribution:

  Defendant Educational Management Corporation
  c/o Michael T. Crowley, Registered Agent
  c/o Charles Restivo, President
  10970 Andrews Place
  Fishers, IN 46037

  Craig Pfannenstiehl
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Dr. James D. Hutton, President of Educational Management Corporation
  Career Quest Learning Centers, Lansing Campus
  3215 S. Pennsylvania Ave.,
  Lansing, MI 48910

  Gregory Wallis, Treasurer of Educational Management Corporation
  7710 N. Whittier Pl.,
  Indianapolis, IN 46250

  Michael Crowley, Secretary of Educational Management Corporation
  10970 Andrews Place
  Fishers, IN 46037

  Kenneth Konesco, Director of Educational Management Corporation
  710 Tamenend Trace
  Fishers, IN 46037

  Educor, Inc.,
  c/o Craig Pfannenstiehl, Registered Agent
  1 Richland Rd.,
  Wellesley Hills, MA 02481

  Andrea L. Ciobanu, #28942-49
  Carly Roseboom, #35349-32
  CIOBANU LAW, P.C.
  8910 Purdue Road, Suite 240
  Indianapolis, Indiana 46268




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                                                                         Filed: 11/7/2018 4:19 PM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 51 of 53 PageID  #: 62
                                                                                 Myla A. Eldridge
                                                                                                                    Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                        Cause No. 49D01-1810-CT-042978
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                          ALIAS SUMMONS

  TO:    Craig Pfannenstiehl
         219 Eliot Street
         Natick, MA 01760-5510

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.

           11/8/2018
  Date:_____________________                             ____________________________________
                                                         Clerk, Marion County
                                                                         Filed: 11/7/2018 4:19 PM
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                                                                                 Myla A. Eldridge
                                                                                                                    Clerk
                                                                                                   Marion County, Indiana



  STATE OF INDIANA                      )
                                        )
  COUNTY OF MARION                      )                        Cause No. 49D01-1810-CT-042978
                                        )
  TIFFANIE GRIMM, REBECCA NAUE,         )
  ROBIN BOSTON, ALLISON RANDLE,         )
  and ASHLYN BRYANT,                    )
                                        )
                  Plaintiffs,           )
                                        )
             v.                         )
                                        )
  EDUCATIONAL MANAGEMENT                )
  CORPORATION, d/b/a/ HARRISON COLLEGE, )
  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                          ALIAS SUMMONS

  TO:    Craig Pfannenstiehl
         122 Commonwealth Ave
         Boston, MA 02116-2901

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
          An answer or other appropriate response in writing to the petition must be filed either by
   you or your attorney within twenty (20) days, commencing the day after you receive this
   Summons, (or twenty-three [23] days if this Summons was received by mail), or a judgment by
   default may be rendered against you for the relief demanded by petitioner.

           11/8/2018
  Date:_____________________                             ____________________________________
                                                         Clerk, Marion County
                                                                        Filed: 11/8/2018 11:21 AM
Case 1:18-cv-03481-SEB-TAB Document 1-2 Filed 11/08/18 Page 53 of 53 PageID  #: 64Myla A. Eldridge
                                                                                                                    Clerk
                                                                                                   Marion County, Indiana



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  CRAIG PFANNENSTIEHL, JAMES HUTTON, )
  GREGORY WALLIS, MICHAEL CROWLEY,      )
  and KENNETH KONESCO,                  )
                                        )
                  Defendants.           )

                                          ALIAS SUMMONS

  TO:    Kenneth Konesco
         13802 Wendessa Dr.
         Fishers, IN 46038

                 You are hereby notified that you have been sued by the person named as petitioner
   and in the Court indicated above.
          The nature of the suit against you is stated in the petition which is attached to this
   Summons. It also states the relief sought or the demand made against you by the petitioner.
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          11/8/2018
  Date:_____________________                             ____________________________________
                                                         Clerk, Marion County
